                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     CHATTANOOGA

AARON LUCAS SHELTON, et al., §
                             §
                 Plaintiffs, §
                             §                         Case No. 1:15-cv-53
~v~                          §
                             §                         Judge Mattice
HAMILTON COUNTY GOVERNMENT, §
et al.,                      §
                             §
                 Defendants. §

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to FED. R. CIV. P., Rule 41(a)(1)(A)(ii), Plaintiffs Aaron Lucas Shelton and

Heather Nicole Shelton, file this stipulation of dismissal with prejudice, signed by the parties that

have appeared, dismissing this action with prejudice as to all of the plaintiffs’ causes of action of

the in this matter against the named defendants and the Doe defendants.

       Pursuant to Tenn. Code Ann. § 71-5-117(g), the Plaintiffs’ counsel, by his signature

hereto, hereby advises and represents to the Court that the State of Tennessee has no subrogation

interest in the proceeds of the settlement.

       At this time all of the named defendants, to include the Doe defendants are stipulated to

be dismissed with prejudice as set forth herein and all parties stipulate that the parties will be

responsible for their respective costs, including attorney fees, of this action.

DATED: August 20, 2015




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Respectfully submitted,

By /s/ Robin Ruben Flores
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